Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 1 of 64




                         EXHIBIT 3
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 2 of 64

                                                                         21776682




                                                                     Sep 30 2008
                                                                      11:52PM
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 3 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 4 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 5 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 6 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 7 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 8 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 9 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 10 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 11 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 12 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 13 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 14 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 15 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 16 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 17 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 18 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 19 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 20 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 21 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 22 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 23 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 24 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 25 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 26 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 27 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 28 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 29 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 30 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 31 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 32 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 33 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 34 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 35 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 36 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 37 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 38 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 39 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 40 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 41 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 42 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 43 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 44 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 45 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 46 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 47 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 48 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 49 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 50 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 51 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 52 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 53 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 54 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 55 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 56 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 57 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 58 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 59 of 64
Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 60 of 64

                                                                          21776682




                                                                      Sep 30 2008
                                                                       11:52PM




  Exhibits 5-17 to the September 30, 2008 Rule 26 Statement of
Harris L. Devor, C.P.A. contain or were created from defendants’
pricing and AMP data for the time period 1997-2005. Defendants
     have designated this data as “Confidential” and “Highly
 Confidential”. In compliance with the December 13, 2002 MDL
   Protective Order (Docket No. 276), as amended, plaintiffs are
filing these exhibits under seal. The exhibits are being served via
 e-mail on counsel for the respective defendants. Each defendant
    will be served only with its respective confidential exhibit.
  Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 61 of 64

                                                                                                  21776682




                                                                                              Sep 30 2008
                                                                                               11:52PM

                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                        )
IN RE PHARMACEUTICAL INDUSTRY
                                                        ) MDL NO. 1456
AVERAGE WHOLESALE PRICE
                                                        ) Civil Action No. 01-12257-PBS
LITIGATION
                                                        )
                                                        )
THIS DOCUMENT RELATES TO:
                                                        ) Judge Patti B. Saris
                                                        )
     The City of New York, et al.
                                                        )
v.                                                      )
     Abbott Laboratories, et al.                        )
                                                        )


      PLAINTIFFS’ EXPERT DISCLOSURE FOR HARRIS L. DEVOR, C.P.A.

         Pursuant to the requirements of Fed. R. Civ. P. 26(a)(2)(B), CMO #33, as

amended, and the December 13, 2002 MDL Protective Order (Docket No. 276), as

amended on June 8, 2004 and March 24, 2005 (Docket No. 1469) (the “MDL Protective

Order”), Plaintiffs, the City of New York and New York Counties, respectfully submit

the following disclosure, including a report of the expert opinions intended to be

expressed at trial, by Harris L. Devor, C.P.A., his curriculum vitae, and identification or

production of all materials and information required by Fed. R. Civ. P. 26(a)(2)(B)(i)-

(vi). Pursuant to the MDL Protective Order, the confidential exhibits to Mr. Devor’s

expert report are being served contemporaneously on counsel for the defendants at issue.

The defendants at issue are the manufacturers of the nine designated FUL drugs: Barr,

Boehringer Ingelheim Roxane, Dey, Ethex, Ivax, Mylan, Par, Purepac, Sandoz, Teva,

Warrick, Watson and Wyeth. Each defendant is being served with the confidential

exhibits relevant to it.
  Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 62 of 64




The nine designated FUL drugs are:

              GCN 11673       Ranitidine 150 mg Tablet
              GCN 05131       Metroprolol 100mg Tablet
              GCN 03758       Lorazepam 1 mg Tablet
              GCN 17297       Isosorbide Mononitrate 60 mg Table SA
              GCN 00386       Enalapril Maliate 20mg Tablet
              GCN 09089       Cefadroxil 500 mg Tablet
            & GCN 48262
              GCN 05037       Albuterol 90 mcg Inhaler
              GCN 05039       Albuterol .83 ml Solution
              GCN 04560       Clonazepam .5mg Tablet

       In providing an identification or production of “data or other information

considered by the witness in forming his opinions,” the New York Counties are

incorporating materials that may fall into any of the following categories: (1) data or

information provided to Mr. Devor in connection with this case; (2) data or information

considered by Mr. Devor, whether or not relied upon or cited by Mr. Devor, in

connection with this case; (3) communications between Mr. Devor and anyone, including

counsel, in connection with this case; (4) notes taken by Mr. Devor, either electronic or

handwritten, in connection with this case; (5) contracts, agreements, and invoices entered

or submitted by Mr. Devor in connection with this case; (6) Mr. Devor’s drafts of his

expert report; and (7) documents, research, study or publication. In addition, plaintiffs

reserve the right to supplement this disclosure with additional charts, graphs, or other

visual representations of Mr. Devor’s expert opinions. Supplementation may take the

form of amendments to this disclosure, a further disclosure, deposition testimony or any

other form sufficient to apprise defendants of additional areas of testimony, additional

materials considered, additional opinions or additional grounds for opinions.

       Mr. Devor’s review of documents produced by defendants, their employees’

testimony or third-party testimony, or expert disclosures and testimony in related cases, is



                                             2
  Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 63 of 64




not a concession by the New York Counties as to the relevance or admissibility of those

materials in this case.

        The New York Counties expressly reserve their right to withdraw any opinions in

this expert disclosure for any reason, including in the event that defendants withdraw or

abandons at any time during the pendency of this case, any argument or defense

addressed by Mr. Devor in this disclosure either directly or indirectly. The New York

Counties further reserve their rights to move to strike, move for summary judgment of,

move to exclude in limine, or otherwise pursue any legal remedy with regard to, defense

arguments, evidence, or defenses addressed by Mr. Devor in his expert report.

        Mr. Devor is being compensated by plaintiffs at the rate of $550 per hour in

connection with his study, preparation of this report and anticipated deposition and trial

testimony.

Dated: September 30, 2008

                                                    Respectfully submitted,

                                                    KIRBY McINERNEY, LLP
                                                    825 Third Avenue, 16th Floor
                                                    New York, New York 10022
                                                    (212) 371-6600

                                                    /s/ Joanne M. Cicala
                                             By:    Joanne M. Cicala
                                                    James P. Carroll Jr.
                                                    Aaron D. Hovan
                                                    Jocelyn R. Normand
                                                    Kathryn B. Allen
                                                    City of New York and New York
                                                    Counties in MDL 1456 except
                                                    Nassau and Orange




                                            3
 Case 1:01-cv-12257-PBS Document 6128-4 Filed 06/15/09 Page 64 of 64




                            CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on the 30th day of September,

2008 caused a true and correct copy of the above PLAINTIFFS’ EXPERT

DISCLOSURE FOR HARRIS L. DEVOR, C.P.A. to be delivered to counsel of record

for defendants by electronic service pursuant to Case Management Order No. 2 entered

by the Honorable Patti B. Saris in MDL No. 1456.


Dated: September 30, 2008


                                                   /s/ James P. Carroll, Jr.
                                                   James P. Carroll Jr., Esq.
                                                   Kirby McInerney LLP
                                                   825 Third Avenue, 16th Floor
                                                   New York, NY 10022
                                                   (212) 371-6600




                                           4
